                                 Case 1:22-cr-00041-APM Document 5 Filed 01/06/22 Page 1 of 1
 AO 442 (Rev. 11/11) Arrest Warrant


                                           UNITED STATES DISTRICT COURT
                                                                   for the

                                                           District of Columbia

                    United States of America
                               V.                                    )
                                                                     )           Case No. 21-mj-679
                      Paul Lee Seymour, Jr.                          )
                                                                     )
                                                                     )
                                                                     )
                               Defendant

                                                        ARREST WARRANT
 To:       Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
                            �P�a-u�I �I�,e�e�S-Je�ytn��n�u�r........
 (name o f per son to be arrested)
                                                            , Tr__________________________
 who is accused of an offense or violation based on the following document filed with the court:

 0 Indictment               O Superseding Indictment        O Information          O Superseding Information            N Complaint
 0 Probation Violation Petition              O Supervised Release Violation Petition        OViolation Notice           O Order of the Court

. This offense is briefly described as follows:

 18 U.S.C. § l 752(a)(l ) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
 18 U.S.C. § l 752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
 40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
 40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds
                                                                                               Digitally signed by G.
                                                                                               Michael Harvey
                                                                      (;     �,;/ · .,..--. Date:2021.12.0316:42:58
 Date:       12/03/2021                                                         � -05'00'
                                                                                             Issuing officer's signature

 City and state:                     Washington, D.C.                             G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title


                                                                 Return

            This warrant was received on (date) _\ 2-__,.{_3_,}_2-_, ___ , and the person was arrested on (date) I 2. ( ::J- (� /
 at (city and state) LI ,Jc\ ,-2>,0;,,n 1 D f-{

Date: \ 1-..\ -=l- \ 2- \
                                                                         � =::-:3----- A..Jif[:officer'ssignature

                                                                      r'D LI L   t1 Ckn c,e{l J.,-Fo )Se,-)� r-l   I       C   J.-1 I LLGl<.,
                                                                                              Printed name and title
